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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS,
                                    EASTERN DIVISION

Travon Gardner and Treonia Gardner,                 )
                                                    )      Case No. 18 CV 4251
            Plaintiffs,                             )
                                                    )      Honorable Judge Harry D.
                     v.                             )      Leinenweber
                                                    )
The City of Chicago, James Haworth and              )
Zachary Gammonley,                                  )
                                                    )
            Defendants.                             )
                                                    )

                           FINAL AGREED ORDER OF DISMISSAL

       This matter coming before the Court on the Stipulation of the parties, the parties having
reached agreement to settle this matter, and the respective parties being represented by counsel,
Plaintiffs, Travon Gardner and Treonia Gardner, by their attorney, Lance D. Northcutt, and James
Haworth and Zachary Gammonley, by their attorney, Allison L. Romelfanger, Assistant
Corporation Counsel Supervisor, and Defendant City of Chicago, by its attorney, Mark A.
Flessner, Corporation Counsel of the City of Chicago, and the parties having entered into a
Release and Settlement Agreement and Stipulation to Dismiss and the Chicago City Council
having enacted an ordinance authorizing the settlement agreement and payment of the funds
agreed upon in the Release and Settlement Agreement, the Court being otherwise fully advised in
the premises, orders as follows:




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       All of the claims of Plaintiffs, Travon Gardner and Treonia Gardner, against defendants,
City of Chicago, James Haworth and Zachary Gammonley, are dismissed with prejudice, without
leave to reinstate, and with each party bearing its own costs and attorneys' fees.




                                                     ENTER:_____________________________
                                                     Honorable Harry D. Leinenweber
                                                     United States District Court, Northern District
                                                     of Illinois


                                                     DATED: 1/28/2020




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